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1                     UNITED STATES DISTRICT COURT

2            WESTERN DISTRICT OF NORTH CAROLINA (Asheville)

3                                         No. 1:20-cv-00066-WGY

4

5    CARYN DEVINS STRICKLAND, formerly known as JANE ROE,
                 Plaintiff
6

7    vs.

8

9    UNITED STATES OF AMERICA, et al,
                Defendants
10

11
                                  *********
12

13                      For Zoom Hearing Before:
                        Judge William G. Young
14

15                            Final Pretrial

16
                          United States District Court
17                        District of Massachusetts (Boston)
                          One Courthouse Way
18                        Boston, Massachusetts 02210
                          Thursday, July 27, 2023
19

20                                 ********

21

22                REPORTER: RICHARD H. ROMANOW, RPR
                       Official Court Reporter
23                   United States District Court
           One Courthouse Way, Room 5510, Boston, MA 02210
24                     bulldog@richromanow.com

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1                         A P P E A R A N C E S

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1            P R O C E E D I N G S

2            (Begins, 12:30 p.m.)

3            THE CLERK:     Now hearing Civil Matter Caryn Devins

4    Strickland versus the United States of America.

5            THE COURT:     Well good morning counsel.          This is a

6    final pretrial conference held pursuant to Rule 16 of

7    the Federal Rules of Civil Procedure.             It's held on our

8    zoom platform.       Our host for the conference is Courtroom

9    Deputy Clerk, Jennifer Gaudet.           The proceedings are

10   taken down by our Official Court Reporter, Rich Romanow.

11   I have law clerks on the line.

12           The proceedings are open to the public.             If any

13   members of the public are present, you are of course

14   welcome, but I must remind you to keep your microphone

15   muted and that the rules of court remain in full force

16   and effect.

17           With that said, would counsel introduce themselves

18   once again and we'll get going, starting with the

19   plaintiff.

20           MS. STRICKLAND:       Thank you, your Honor.        Karen

21   Strickland and Cooper Strickland is with me.

22           THE COURT:     Yes, good morning to you both.

23           MR. STRICKLAND:       Good morning, your Honor.

24           THE COURT:     And for the defense?

25           MS. YOUNG:     Daniel Young.


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1             MS. McMAHON:     Madeline McMahon.

2             THE COURT:     And good morning to the two of you.

3             Well let me start by saying that the joint

4    pretrial memorandum is excellent and of considerable

5    help to the Court and provides a very good framework for

6    our discussion this morning, and I thank you for it.

7    Let's get some things clear here.

8             This is a jury-waived case and both parties

9    understand that and that's how we're going to proceed.

10   So I do understand the plaintiff's offer here, but we're

11   not going to try it without live witnesses, credibility

12   is an issue, and so we're going to try it as a normal

13   jury-waived case.        The defense's suggestion that it will

14   take 5 days to try is a very reasonable one and I think

15   we will adopt that as the limit of the days for trial of

16   this case.

17            I do -- well I do urge the following, just to

18   start.    I ask for a more detailed agreement as to the

19   facts, and what you've given me is sort of two separate

20   recitations of facts.         And you recognize that you

21   haven't got time -- you haven't had the time to sit down

22   together and see if you can't hammer out a joint

23   statement of facts, even though it's not complete.                  I

24   was asking for one that was more detailed than I had at

25   the summary judgment level and I'm still asking.                  But


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1    I'm not requiring it.

2            What you've given me though is, um, I cannot

3    accept it as a -- I view it as -- pretty much as a

4    request for factual findings, because there's source

5    material here from -- which I can check, and if you

6    don't give me anything more, well then that's fine, but

7    I'm not taking that as an agreed statement of facts, and

8    I would urge you to agree to a statement of facts.

9            The second thing is, um, I -- well before we go

10   any further, actually I should raise this.               Now this is

11   jury-waived so I don't want to know Word 1 about

12   settlement beyond what I raise here.             This is not a

13   settlement discussion.         All of this is on the record.

14   But I, at this stage, never would go any further in a

15   jury-waived case without at least asking the attorneys,

16   "Are you talking?"        Now that's all I want to know.

17   Because I think you should talk about a resolution of

18   this case short of trial, and that expresses no opinion

19   as to the merits.        And I'm entitled to ask and so I do

20   ask and we'll start with the plaintiff.

21           I mean I don't want to know anything about

22   discussions as I am the factfinder here, but are you

23   talking at all?       The plaintiff.

24           MS. STRICKLAND:       Yes, your Honor, I'm sorry.         We

25   have talked unsuccessfully, but we are very interested,


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1    as always, in talking about settlement, and we think the

2    matter could be referred for a judicial settlement

3    conference or mediation, and we'd be happy to do that.

4            THE COURT:     And the defense, are you talking?

5            MS. YOUNG:     We had settlement talk previously,

6    your Honor, several months ago and they were not

7    successful and they haven't been resumed since.                   At that

8    point the parties were way too far apart for us to --

9            THE COURT:     But I'm eager -- we're right up

10   against a trial now, so when we talk about a resolution

11   or we talk about referring it to a mediator, um -- well

12   let's put that to one side, because if the plaintiff

13   wanted that, I can see good reason for the plaintiff

14   getting to judgment, however that judgment may work out.

15   So we'll circle around and come back to that.

16           The next thing I wanted to say is that while I

17   think it's in the interests of justice, and therefore

18   that's how we're going to do it, to have live witnesses

19   where I can make my own credibility assessments, we

20   would save a lot of time here with respect to things

21   that are not, um, genuinely disputed, if you agreed that

22   I might, um -- notwithstanding the Federal Rules of

23   Civil Procedure, I might accept the testimony of a

24   witness otherwise available by reading that witness's

25   deposition.      I'm very much open to that.          And that would


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1    cut down the number of witnesses as to whom it would

2    make sense to have those witnesses testify live.

3            So what I'd like to do is turn to the

4    defendants --      turn to Page 107 where the defendants

5    list the list of those -- it's not an overlong list and

6    I'm certainly not holding the plaintiff to it, but the

7    defendants' list of witnesses, um, factual witnesses

8    anyway, who, um, they are reserving the right to call at

9    trial, well that all makes sense to me, but I don't

10   think we have to call all these witnesses.               So let me

11   ask.    And we'll ask the defense since it's -- I'm

12   working off your list.

13           If we are going to try the case, which witnesses

14   do you want to see live, whether you call them or

15   whether the Stricklands call them?

16           MS. YOUNG:     Your Honor, I think there are several

17   of these witnesses that we would definitely need to have

18   live testimony because we think it would be beneficial

19   to the --

20           THE COURT:     That's what I'm asking.          Which?

21           MS. YOUNG:     Yeah.    Certainly, your Honor, um, we

22   would need JP, we would need Ms. Strickland --

23           THE COURT:     Wait.    Wait.     Wait.   We would need

24   who?

25           MS. YOUNG:     Oh, sorry.       Mr. JP Davis.


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1             THE COURT:    All right, Davis.

2             MS. YOUNG:    Mr. Anthony Martinez.

3             THE COURT:    Yes, I understand that.

4             MS. YOUNG:    Mr. Bill Norman.       Likely Ms. Taylor.

5             THE COURT:    I'm looking at your list here.

6             MS. YOUNG:    The plaintiff.

7             THE COURT:    Yes.

8             MS. YOUNG:    And possibly there are others, your

9    Honor.    But we would need to confirm more before we

10   could -- confer with our client to determine if there

11   would be additional witnesses we need to call or whether

12   we would be willing to designate their deposition

13   transcript.

14            THE COURT:    You've listed them, that's fine.            And

15   so long as they're here in this final pretrial

16   conference memorandum I'm not going to say it's a

17   surprise witness or anything.           But I'm only giving you 5

18   days here and you want to think of what you want to

19   call.

20            So let me turn to the plaintiffs.           Who else on

21   live witnesses, um -- and it doesn't have to be off of

22   their list, but who else as to live witnesses would you

23   think you might want to call?

24            MS. STRICKLAND:      Your Honor, this is very awkward

25   for me to say, but we would maintain our position that


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1    we think this record is sufficient to decide this case

2    and I would just like to say a couple of things about

3    that.

4            All of the witnesses that they just named are

5    relevant to the underlying EDR investigation that

6    already occurred and already resulted in a letter of

7    reprimand and factual findings against these

8    individuals.      And as recognized in your order from the

9    other day, those findings are unimpeached at this stage.

10   In order to impeach those findings, they would have to

11   impeach the credibility of Chief Judge Gregory and

12   Circuit Executive Ishida who participated in --

13           THE COURT:     I know I'm interrupting, I'm not

14   requiring you to put on witnesses if you have other

15   evidentiary matters.        I, for instance that letter, I've

16   already expressed myself, the factual findings anyway

17   seem to be evidence in this case.            As we sit now, that

18   evidence seems to me to be unimpeached.              Meaning really

19   the greatest respect to you, Ms. Strickland and no

20   disrespect, I'd like to hear you testify in this case

21   and give your testimony while I'm looking at you

22   carefully and candidly, and be subjected to cross-

23   examination.      I'd like to hear Mr. Martinez testify.           I

24   think that is a significant element of the factfinding.

25   And indeed some of the other people that they've -- and


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1     I'm not -- I haven't got a take on this case at all.                 So

2     you're right, I could do it without that, but I prefer

3     that.    And the rules allow it, our normal mode of

4     procedure is live testimony.

5             So I'm asking you, if we're going to have live

6     testimony, and I'm not holding you to it because anyone

7     you've listed you may certainly call, and what I'm

8     encouraging is exactly what you're talking about.                 Let's

9     agree on what depositions I should read because, while I

10    worked hard on the summary judgment hearing, um, I mean

11    I'm a very -- I try to be a transparent person, I worked

12    with the law clerks.        As a factfinder I must read, and

13    read the exhibits, I must listen to -- I, personally,

14    must listen to the recorded transcripts that you want to

15    put in evidence, and I must read the depositions, and

16    candidly I haven't done all of that yet and I haven't

17    done it in a trial sense, I've done it only to make a

18    appropriate rulings, because you wanted to do it by

19    summary judgment, and that's fine, and I've handled it.

20    Now we've got a trial, and I take my responsibility very

21    seriously, and you can be sure that if you designate a

22    deposition, I will have read it.

23            But I want to get this all to trial early in

24    September.     So what we're going to get to is I want --

25    you've got more work to do as to the exhibits and I want


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1     to know what depositions you want me to read because

2     come September I will have had them all read and I'll be

3     in a position to hear argument with respect to them if

4     -- once we've got the live testimony in.

5             So my question again is, as you look at the case,

6     who would you like to call live?           Just so I can get a

7     feel for it.

8             MS. STRICKLAND:      Yes, your Honor, um,

9     I -- everything you're saying is very reasonable and I

10    completely understand it.         Unfortunately due to events

11    in this case that have been discussed in our filings, I

12    do not intend on testifying, and the reasons for that

13    are stated in our filings and I don't --

14            THE COURT:     You need say no more.        You need say no

15    more.    If they want to call you as an adverse witness,

16    well then they can.        I'm not asking that you testify.

17            But who else?      Are you planning on calling anyone

18    else live?

19            MS. STRICKLAND:      The only witnesses that we have

20    put on our witness list to call live are witnesses that

21    would be needed for foundational testimony for the

22    admission of exhibits, if defendant objects, but we

23    don't feel that that should be necessary because all of

24    the exhibits that we're introducing came from defendants

25    in discovery and we don't foresee any kind of dispute


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1     that the foundational requirements have been met.

2            THE COURT:      Okay, I don't either really.          So

3     here's what I need with respect to -- I said what I need

4     with respect to depositions, I said what I need -- now

5     I'm going to tell you what I need with respect to

6     exhibits.

7            Each one of you has set out a very extensive

8     exhibit list, that's fine.          Now you've got to sit down

9     together sometime before trial, I don't care when you do

10    it, and it need not be done until we're right up against

11    trial, but I'm not going to be looking over exhibits

12    until we get to trial.        You've got to give me a single

13    exhibit list and that exhibit list will start with the

14    exhibits that the plaintiffs want to introduce and

15    they'll all have numbers, and when -- and then the

16    defendant's to which there are no objections.               The

17    exhibits to which there are no objections, they're in

18    evidence, you've agreed to them, so give them numbers.

19    Exhibits to which there are any objections -- and you

20    people are working well together, it doesn't seem that

21    there are going to be many objections, give them

22    letters, and the letters are to the base 26, by which I

23    mean A to Z, then AA, AB, AC, AD, not AA, BB, CC.                 I

24    once had a case we got up to 7Qs, the Court Reporter

25    couldn't distinguish there being 6 or 7Qs, it was


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1     terrible.     So I'm a peasant on this.         Do it my way.          If

2     you get to a number, I'm going to take it that it is

3     admitted in evidence.

4            Now what does that mean?          It doesn't mean it's

5     established, it means it's evidence, which means as the

6     factfinder I may decide that it is both authentic and I

7     may decide that its substance is probative.              That's all.

8     And I will use the normal means of reasoning to arrive

9     at that result.      I don't think there should be much

10    dispute.     But I want a single exhibit list.

11           Now let's talk about the trial because of this

12    business about going to judicial mediation or something.

13    Look, I can give you a 5-day trial starting on the 5th

14    of September, going 9:00 till 1:00 for 5 days, except

15    the 5th is the Tuesday after Labor Day, so I may be

16    picking a jury on Monday or the following Monday.                 So

17    I'm not sure I'm going to give you the, um -- that

18    following Monday.       So the 5th of September would be the

19    5th, 6th, 7th, 8th, that's four days.             The 11th, I, um

20    -- we'll have to see during that week how the rest of my

21    trial calendar is falling out.           But if I don't -- if I

22    start a jury case, I pick the jury on the 11th, I will

23    give you the 12th.

24           Now the 5 days, 9:00 till 1:00 are for evidence.

25    That's not -- I'm not arguing that you should, um -- I'm


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1     not requiring that you do argument during that 5 days,

2     but there are three stages of argument here in a jury-

3     waived case and they are these.

4            Once the plaintiff has presented her case -- if

5     her case is entirely a documents case, that's fine,

6     that's fine.      Once we are clear I have read those

7     documents, I myself have read them, then at that stage

8     it will be open, as in any jury-waived case, for the

9     defense to say it's not persuasive on any of the live

10    theories that would bring the plaintiff to a verdict.

11    Then -- it's possible I could so come out, it's possible

12    I could say "No, I want to hear the defense's evidence,"

13    and then we'd go forward.         Then when the defense has

14    presented all its evidence, then we'll have another

15    stage for argument.        Again, I could say the plaintiff

16    hasn't made it out or the plaintiff has made it out on

17    any one of the variety of theories.

18           And then we would go -- at least the logic of this

19    case presents itself this way, that then we would go on

20    to the front-pay damages, which are what the Fourth

21    Circuit has said is the remedy here, and I would hear

22    from both sides after that.          Then we would have final

23    final argument and I would take the matter under

24    advisement.

25           Now let's --


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1              How does that suit the plaintiff?

2              MS. STRICKLAND:     Yes, your Honor, I mean all of

3     that in theory, it makes sense and it's reasonable.                    I

4     just want to put on the record that, um --

5              THE COURT:    In theory?     That's how I try a case.

6              MS. STRICKLAND:     No, I understand.        I just want to

7     see --

8              MS. YOUNG:    In theory for me?       That's how I do it.

9              MS. STRICKLAND:     Yeah, I just want to state the

10    obvious, which is that my, um, essentially entire legal

11    team that we were relying on to try this case withdrew

12    on the eve of trial and Cooper and I have never done a

13    trial, jury-waived or otherwise.           So we just feel

14    that -- it's not really -- it's not a criticism of you.

15             THE COURT:    Oh, and I'm not taking it that way.

16    I'm not.     And maybe judicial mediation is worthwhile.

17    There is a public interest, wholly apart from your

18    interest, in getting the matter resolved.              But I am

19    sensitive, because it was raised earlier, that you want

20    to get resolution here and for very good reason.                  So

21    this isn't the earliest I can do it.            If you want to go

22    off to a trial later on and try judicial mediation, um,

23    how would you envision doing that?

24             We have -- in this district, and you see I know I

25    can do this, which everyone might like, um, we have just


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1     marvelous magistrate judges who are superb mediators and

2     one has a nationwide reputation, Judge Maryanne Bowler,

3     who has served as a mediator for multidistrict

4     litigation outside the District of Massachusetts.                 And

5     this is something I've examined -- I've tried this

6     ground before, Judge Bowler and I have served sometime

7     together, and certainly I would be willing to ask her if

8     she'd like to mediate this case, but that would pretty

9     much obviate a trial in early September.              I mean we're

10    about to -- I don't know what her vacation status is.

11    I'd just be asking her.

12            But practically what are you thinking about in

13    judicial mediation?

14            MS. STRICKLAND:      You have to understand that --

15            MR. STRICKLAND:      That's a very difficult question

16    because of the preliminary injunction that has been

17    pending for so long and it's just -- this is a rock and

18    a hard place, and the resistance to mediation up until

19    this.    But we asked for it before, it's required under

20    the local rules here, we didn't get it, um, so it might

21    not be worthwhile.

22            THE COURT:     Well you see this is the final

23    pretrial conference today, I'm telling you when you'll

24    get a trial.      I'm not a mediator but I am a judge.             You

25    know cases can always be settled.            My instinct is to


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1     hold up the trial schedule and leave it to you people to

2     suggest something, "you people" meaning the defendants

3     as well.

4             Now let me turn to the defendants.            How does that

5     trial schedule suit?

6             MS. YOUNG:     Your Honor, the week of September 5th

7     would be really difficult because several of our

8     critical witnesses are out of the office that week.

9             THE COURT:     I'm, um -- I'm really disinterested in

10    that, um, with all respect.

11            MS. YOUNG:     Okay.

12            THE COURT:     I mean this is a trial and, um, I

13    think it's up to you to get witnesses.

14            Now I'm perfectly amenable to taking witnesses out

15    of order, but when you tell me, "Well we can't do it

16    that week, everyone's out of the office."              Well of

17    course we're gearing up here in Massachusetts too.                So

18    I'm going to do a jury-waived cause and then I'll get my

19    first jury case on the following week.             I live in the

20    real world.     No, no, you can get your witnesses, you've

21    got more than a month's time, vacations are largely

22    over.

23            Otherwise to that, what problems do you have?

24            MS. YOUNG:     Just to be clear, your Honor, I

25    believe some of those are work conflicts.              But the week


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1     of September 12th would look much better for our

2     witnesses.

3             As for mediation, defendants are open to do

4     mediation, but we would need to push back the trial date

5     just because of the amount of time and resources it's

6     going to take to prepare for trial.

7             THE COURT:     But you see I agree with that, I agree

8     with that if you would agree on mediation, but I'm not

9     hearing anything about an agreement on mediation and no

10    one's given me a practical suggestion as to who the

11    mediator should be.        I suggested quite candidly a

12    professional friend of mine whom I have enormous

13    professional regard for, but no one has jumped at that

14    bait.    So I'm setting the trial date for the 5th of

15    September.     Get ready for trial.        Of course I know the

16    12th of September would be more convenient, I expect to

17    be trying a jury case that week and for each of the

18    weeks thereafter.       I have a month-long antitrust case in

19    October.     So, um, this case is set down for the 5th of

20    September.

21            There will be openings of 15 minutes, the final,

22    per side, if you wish.        There will be closings of half

23    an hour per side, but that's not an invitation to take

24    that long.     Your requests for findings and rulings may

25    be filed at any time up to and including the date of


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1     the, um, final closing arguments.            They may be filed

2     thereafter, but you should understand that I intend no

3     delay while we wait for a transcript -- though I have

4     great respect for Mr. Romanow and he's a superb Court

5     Reporter, no, we're going to get busy deciding this

6     case.

7             And now I think I've pretty much gone over the

8     agenda that I need to go over, so I'm open for

9     questions.     If, um -- well let me say this to you -- to

10    the Stricklands because it may be that the, um, the

11    defense will call Ms. Strickland as an adverse witness.

12    If they do, um, they of course have the right to cross-

13    examine her.      I follow the procedure that if the defense

14    does that, then Ms. Strickland has -- or I will expect

15    Mr. Strickland, I will expect you to do the examination.

16    But you may also cross-examine Caryn Strickland.                  And

17    again if they call her as an adverse witness, they're

18    going to be confined to -- you're going to be confined

19    on your cross-examination to the matters that they went

20    over on their direct by way of cross.

21            And now I realize I did leave one thing out.                You

22    make reference to expert witnesses here.              Have we got

23    expert reports?

24            MS. YOUNG:     Yes, your Honor, we do, both parties

25    do.


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1              THE COURT:     All right.    Understand that no witness

2     will testify to anything that's not in the expert

3     report.    And again I am open, by agreement, to your

4     resting on the expert reports and not calling the

5     witnesses live, and, you know, I'll just evaluate the

6     expert report.        But that has to be by agreement.

7              All right.     Questions?

8              (Pause.)

9              MS. YOUNG:     Your Honor, defendants have a couple

10    of questions, if that's all right?

11             THE COURT:     Sure.

12             MS. YOUNG:     If the parties agreed to have your

13    colleague mediator serve as a mediator in this case in

14    the next day or two, could we possibly file a notice to

15    the Court about that, if there's agreement?

16             THE COURT:     If you do and the answer is "yes,"

17    well then the trial date is off.           So that's to be set

18    just as soon as I can reset it should mediation not

19    prove successful.

20             MS. YOUNG:     Understood, your Honor.

21             Additionally, what is your Honor's deadline for

22    pretrial motions, such as motions in limine?

23             THE COURT:     Really right up until the eve of

24    trial.    I will tell you that motions in limine,

25    especially -- I like motions in limine, they're, um,


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1     really almost better than a trial brief because they

2     tell me where the tension points are.             I but rarely

3     grant them.     What I do is read them and try to be

4     prepared on them and then I see how the trial develops.

5     And that's not meant to discourage you from filing, I am

6     very open to the filing of motions in limine.

7            MS. YOUNG:      Thank you, your Honor.

8            THE COURT:      Here with so little in dispute, there

9     may be some interesting evidentiary issues, but I don't

10    think evidence looms so large here.            Again being just as

11    candidly as I can, um, what this case comes down to is

12    what I'm going to make of this evidence.              I've looked at

13    a lot of it.      I've got to look at more of it.           I do want

14    to hear live witnesses and evaluate their credibility.

15    But I'm not looking towards this as a massive evidence

16    workout.     But if I'm mistaken, you'll bring it my

17    attention.

18           MS. YOUNG:      Yes, your Honor.       And I believe the

19    defendants have one final question.

20           Your Honor, will we be permitted to call witnesses

21    that are not named in this pretrial joint filing?

22           THE COURT:      No one will call anyone that's not

23    named in this joint pretrial filing.

24           MS. YOUNG:      Understood, your Honor.         Thank you.

25           THE COURT:      And now for the Stricklands,


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1     questions?

2            MR. STRICKLAND:       Yes.    I want to touch on, um, you

3     said we could submit expert reports by agreement.                 Can

4     we do, um, expert deposition designations?

5            THE COURT:      Exactly, again by agreement.

6            MR. STRICKLAND:       Oh, so the designations require

7     agreement as well?

8            THE COURT:      Yes, because the normal rule, you see,

9     is that witnesses testify live.           So unless you agree,

10    the witness has to be produced and testify under oath.

11    But here I am telling you that if you'll agree, I am

12    more than amenable, in fact I am eager to have you agree

13    to deposition excerpts.         And, um, I guarantee you that,

14    um, no factual finding will ever be rendered until I

15    have read those depositions.          I take that just like

16    evidence.     But I'm hopeful you'll get together and send

17    me depositions in August that I will have read before

18    the 5th of September.

19           MR. STRICKLAND:       So even in situations where

20    there's the unavailability of the witness because of the

21    --

22           THE COURT:      Oh, well, no, if the rule governs --

23    if the rule governs, then the rule governs.

24           MR. STRICKLAND:       Okay.    So, for example, Anthony

25    Martinez lives in South Florida, so he's over 100 miles


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1     away, so we're going to designate his deposition.                 You

2     know there's several instances of that that we'll be

3     using to basically accept your offer to present this

4     case on the documents.

5             THE COURT:     Right.    But you have every right to

6     depend upon my rigorously following the Federal Rules of

7     Evidence.

8             And, Mr. Cooper, you know it's -- it's not a sign

9     -- I'll be very candid here.          It's not a sign of -- if

10    this is your first trial outing for the two of you, it's

11    never a sign of weakness to ask a question.              There's no

12    -- and let me tell you, it's not any sort of help to one

13    side or another to ask questions about trial procedure

14    of Ms. Gaudet, she is as good a Courtroom Deputy as you

15    would find in any district anywhere.            And during the

16    course of the trial, if you are unclear as to a ruling

17    that the Court has made, it's never wrong to say "Why

18    are you doing that, Judge?"          I should have a reason.

19            MR. STRICKLAND:      Oh, in all honesty I don't even

20    know where to start with my questions.             I mean we're all

21    within months of the trial and we're kind of --

22            THE COURT:     I think it is -- actually a trial is,

23    um, it's an exercise in reaching out for justice and the

24    logic of, um, the logic of the process is really very

25    good.


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1            Now one thing I also ignored.           I know you'd prefer

2     to do this in Ashville.         We are going to go wherever the

3     Western District of North Carolina tells us to go, that

4     is to say it looks like we're going to be in Charlotte.

5     You'll know -- well I'm going to be in Boston.               But it

6     looks like you're going to be in a courtroom in

7     Charlotte.     I will be in a courtroom here in Boston.

8     And we will all be able to see each other.              But we will

9     know that well before the 5th of September and

10    Ms. Gaudet will inform you at once.

11           They have a very heavy criminal workload, I

12    understand from the clerks there, and, um, again this is

13    an important case, important to the litigants and beyond

14    the litigants, but it is a civil case and the criminal

15    cases comes first.

16           Any other questions?

17           MR. STRICKLAND:       As far as deposition designations

18    though, will Ashville control?           Because that's the

19    division that controls where the --

20           THE COURT:      What do you mean "Will Ashville

21    control?"

22           MR. STRICKLAND:       It's the location of the

23    courthouse for the 100-mile rule.

24           THE COURT:      I don't know the answer to that

25    question, that's something that can be researched.


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1            MR. STRICKLAND:       Well we've been relying on this

2     case would be tried in Ashville.

3            THE COURT:      Well it was filed in the Ashville

4     division.     There may not be any objection.

5            MR. STRICKLAND:       Okay.    And as far as the trial

6     time, is it going to be evenly split between the

7     parties?

8            THE COURT:      It is, and I'm the timekeeper.

9            MR. STRICKLAND:       And it's going to be kind of a

10    chess-clock type of thing?

11           THE COURT:      It is, to the nearest 5 minutes.

12           All right.      If there are no other questions.

13    Again, if you want mediation, let me know right away

14    because I'll get in touch with Magistrate Judge Bowler,

15    but otherwise we're on for the 5th of September.                  If you

16    were to settle the case, a simple phone call to

17    Ms. Gaudet is all that's necessary.            Don't ever make

18    that call unless the case in fact is settled.               Because

19    if you make that call, don't spend another dime, and all

20    the deadlines are off, but if you later come and say

21    it's been unwound, I will be very sticky indeed.

22           I have enjoyed working with you and I say that

23    with sincerity and I will enjoy -- well, I, of course,

24    institutionally hope you settle, but if you don't, I'm

25    sure I will enjoy the trial.          And I wish you well.          And


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1     I think we're ready to adjourn.

2              MS. YOUNG:    Your Honor, defendants have one more

3     question.

4              THE COURT:    Yes.

5              MS. YOUNG:    Will the parties be able to call

6     expert witnesses that are not named in the joint

7     pretrial statement?

8              THE COURT:    No.

9              MS. YOUNG:    Understood, your Honor.         Thank you.

10             THE COURT:    I mean that's why we do this.              The

11    whole idea, the whole genius of the Rules of Civil

12    Procedure is to narrow proceedings, not to expand them,

13    and having been given ample time and warning, we now

14    know the parameters of how we're going to do this work.

15             MS. YOUNG:    Understood.     Thank you very much, your

16    Honor.

17             THE COURT:    Thank you.     We will recess.

18             (Ends, 1:15 p.m.)

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1                        C E R T I F I C A T E

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3              I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER,

4     do hereby certify that the foregoing record is a true

5     and accurate transcription of my stenographic notes

6     before Judge William G. Young, on Thursday, July 27,

7     2023, to the best of my skill and ability.

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11    /s/ Richard H. Romanow 08-01-23
      __________________________
12    RICHARD H. ROMANOW   Date

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